Case 2:23-cv-11634-NGE-APP ECF No. 19-2, PageID.270 Filed 09/25/23 Page 1 of 3




                   EXHIBIT A
Case 2:23-cv-11634-NGE-APP ECF No. 19-2, PageID.271 Filed 09/25/23 Page 2 of 3


 From:            Julia
 To:              epensler@yahoo.com; Derek Hill; Pavlina; Simrath; Marissa
 Subject:         RE: Following up on billing
 Date:            Monday, May 08, 2023 11:33:44 AM


 Also, please let me know if you would like me to leave those notes open for Dr Pensler/Dr Hill to
 review and sign, review and mark as ready for me to sign, or if I should sign them and route them for
 review.

 Thanks,
 Julia


 From: Julia
 Sent: Monday, May 8, 2023 9:07 AM
 To: epensler@yahoo.com; Derek Hill <dhill@drhill.com>; Pavlina <pavlina@drhill.com>; Simrath
 <Simrath@drhill.com>; Marissa <marissa@drhill.com>
 Subject: RE: Following up on billing

 Good morning.

 Following up on my email below, as I have not heard a response. It’s my understanding that we are
 now able to indicate the PA as the servicing provider in EPIC via the appointment itself by changing
 the provider, and/or in the charge capture when applicable. Moving forward, in order to ensure that
 I’m in compliance with proper billing and to be able to continue with my position, I will be modifying
 this when appropriate. We will need to review this with staff as well.

 Thank you,

 Julia Zimmerman, PAC
 julia@elizabethmedspa.com
 Office: 248-268-1655

 Elizabeth Face + Body Med Spa | Pensler Vein and Vascular Surgical Institute | Hill Orthopedics
 928 E 10 Mile Rd
 Ferndale, MI 48220
 elizabethmedspa.com




 From: Julia
 Sent: Thursday, April 13, 2023 11:48 AM
 To: epensler@yahoo.com; Derek Hill <dhill@drhill.com>; Pavlina <pavlina@drhill.com>; Simrath
 <Simrath@drhill.com>; Marissa <marissa@drhill.com>
 Subject: Following up on billing
Case 2:23-cv-11634-NGE-APP ECF No. 19-2, PageID.272 Filed 09/25/23 Page 3 of 3


 Good morning,

 I wanted to follow up as I continue to be concerned about the process of billing in the physician’s
 name regardless of insurance carrier or servicing provider, and my personal professional liability. As
 we aren’t able to meet the incident to criteria, I’d like to continue to discuss what we should do
 when a patient is seen by me. I appreciate everyone’s consideration.

 Thanks,

 Julia Zimmerman, PAC
 julia@elizabethmedspa.com
 Office: 248-268-1655

 Elizabeth Face + Body Med Spa | Pensler Vein and Vascular Surgical Institute | Hill Orthopedics
 928 E 10 Mile Rd
 Ferndale, MI 48220
 elizabethmedspa.com
